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 7
                              UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF ARIZONA
 9
     United States of America,                  ║
10                                              ║          CR 20-00626-PHX-DWL
                          Plaintiff,            ║
11                                              ║       RESPONSE TO ANCILLARY
                   v.                           ║    PETITION CLAIMING INTEREST
12                                              ║       IN FORFEITED PROPERTY
     Brannen Sage Mehaffey,                     ║    FILED BY DONALD E. MERRITT
13                                              ║
                          Defendant.            ║
14                                              ║
     Donald E. Merritt,                         ║
15                                              ║
                          Petitioner.           ║
16                                              ║
17          Plaintiff United States of America responds to Donald E. Merritt’s petition (doc.
18   89) in which he claims an interest in property the government seeks to forfeit. Mr.
19   Merritt asserts he is a victim of defendant’s fraud. Defendant defrauded approximately
20   125 individuals and entities, and per his plea agreement defendant has agreed to pay up
21   to $4,000,000 in restitution. Mr. Merritt’s petition should be denied because all property
22   that is forfeited should be equitably distributed to all defendant’s victims, including Mr.
23   Merritt if this Court awards him restitution.
24          Defendant apparently defrauded Mr. Merritt.         The Court likely will order
25   defendant to pay restitution to his victims, including Mr. Merritt. Where, as here, assets
26   are forfeited and restitution is ordered, the government typically seeks “restoration” so
27   that forfeited assets are used to compensate victims who have been awarded restitution.
28
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 1   The government intends to seek restoration in this case so that all of defendant’s victims
 2   receive some compensation from the assets that are forfeited.
 3          The restoration process normally begins after sentencing. After a court forfeits
 4   property and orders a defendant to pay restitution, the United States Attorney’s Office
 5   submits a restoration request to DOJ’s Money Laundering & Asset Recovery Section
 6   (MLARS), who is authorized to distribute forfeited property to victims. Once MLARS
 7   approves the restoration request, the proceeds from the sale or disposition of forfeited
 8   assets are transferred to the clerk of the court who then distributes the funds to victims
 9   according to the restitution order.
10          Where numerous victims are awarded restitution and the total amount of
11   restitution exceeds the restored funds from the forfeited property, the clerk of the court
12   normally distributes the restored funds to the victims on a pro rata basis. Here, the
13   government will request that defendant be ordered to pay restitution. The government
14   believes total restitution for all victims (including Mr. Merritt) will greatly exceed the
15   amount of forfeited property ($93,865).
16          If Mr. Merritt’s petition was granted, he would receive a disproportionate share of
17   the forfeited property, to the detriment of defendant’s other victims. All of defendant’s
18   victims should receive an equitable, or pro rata, share of the forfeited property. Mr.
19   Merritt’s petition should be denied so that the forfeited property can be restored to all of
20   defendant’s victims.
21

22           DATED this 17th day of March, 2022.

23                                             GARY M. RESTAINO
                                               United States Attorney
24                                             District of Arizona

25                                             S/Mark J. Wenker
                                               MARK J. WENKER
26                                             Assistant United States Attorney

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 1                                     CERTIFICATION
 2        I certify that on March 17, 2022, I electronically transmitted the attached document
     to the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice of
 3   Electronic Filing to the following CM/ECF registrant: counsel of record.
 4        and
 5        that on the same date, I mailed and emailed a copy of the attached document to:
 6        Donald E. Merritt
          2 Crestwood Ct.
 7        Belleville, IL 62226
 8        Mikim1950@yahoo.com
 9   By: S/ Ray Southwick
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